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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                                  8:14CR255

      vs.
                                                   FINDINGS AND RECOMMENDATION
JOSE ERIVES-RIOS,                                               AND
                                                              ORDER
                     Defendant.

       At the conclusion of the hearing on October 31, 2014, on the defendant’s motion
to suppress, I stated my conclusions on the record and my decision to recommend that
the motion to suppress be denied. In accordance with that announcement,


       IT IS RECOMMENDED to the Honorable Laurie Smith Camp, Chief United
States District Judge, that the motion to suppress (Filing No. 45) be denied as set forth
in the oral Findings and Recommendation as will be reflected in the transcript.


       FURTHER, IT IS ORDERED:
       1.     The clerk shall cause a transcript of the hearing to be prepared and filed.
       2.     Pursuant to NECrimR 59.2 any objection to those Findings and
Recommendations shall be filed with the Clerk of the Court within fourteen (14) days
after the transcript has been filed. Failure to timely object may constitute a waiver of any
such objection. The brief in support of any objection shall be filed at the time of filing
such objection. Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.


       Dated this 5th day of November, 2014.

                                                   BY THE COURT:

                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
